  Case No. 1:17-cr-00334-CMA      Document 33 filed 06/25/18 USDC Colorado pg 1
                                            of 2
Appellate Case: 18-1057      Document: 010110012252 Date Filed: 06/25/2018 Page: 1
                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                 Byron White United States Courthouse
                                          1823 Stout Street
                                       Denver, Colorado 80257
                                           (303) 844-3157
   Elisabeth A. Shumaker                                                               Chris Wolpert
   Clerk of Court                         June 25, 2018                           Chief Deputy Clerk




   Mr. Rick E. Bailey
   Conlee, Schmidt & Emerson
   200 West Douglas Avenue, Suite 300
   Wichita, KS 67202

   Mr. Jeffrey P. Colwell
   United States District Court for the District of Colorado
   Office of the Clerk
   Alfred A. Arraj U.S. Courthouse
   901 19th Street
   Denver, CO 80294-3589

   Mr. Paul Farley
   Office of the United States Attorney
   District of Colorado
   1801 California Street, Suite 1600
   Denver, CO 80202

   RE:       18-1057, 18-1058, United States v. Castro-Cruz
             Dist/Ag docket: 1:17-CR-00334-CMA-1

   Dear Counsel and Clerk:

   Please be advised that the court issued an order today dismissing this case.

   In addition, please be advised that the mandate for this case has issued today. The clerk of
   the originating court shall file accordingly.
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                                            of 2
Appellate Case: 18-1057      Document: 010110012252 Date Filed: 06/25/2018 Page: 2


   Please contact this office if you have questions.

                                               Sincerely,



                                               Elisabeth A. Shumaker
                                               Clerk of the Court




   EAS/lg




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